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CORTEZ FISHER #41427-037
F.C.I. FAIRTON - Box 420'

FAIRTON, NEW JERSEY 08320

APRIL 1, 2010
CIVIL ACTION #JFM-10-706
(RELATED CRIM. CASE: JFM-07518)
J. FREDERICK MOTZ, U.S.D.J.
UNITED STATES DISTRICT COURT
101 W. LOMBARD STREET
BALTIMORE, MARYLAND 21201-2691
MR. PHIL;P SENAN JACKSON, U.S.A.
OFFICE OF UNITED STATES ATTORNEY
36 S. CHARLES STREET, FOURTH FLR.
BALTIMORE, MD 21201
RE: CONSTRUED MOTION AS §2255 PETITION.
DEAR SIRS:

ON APRIL 1, 2010, I RECEIVED AN ORDER FROM THE UNITED
STATES DISTRICT COURT IN WHICH IT PURPORTS TO SUGGEST THAT MY
LETTER-MOTION WAS CONSTRUED TO BE A §2255 HABEAS CORPUS. SUCH
ORDER GOES ON TO DISCUSS WHETHER I MAY BE TIME BARRED AND
ORDERS THE UNITED STATES ATTORNEY'S OFFICE TO ADDRESS SUCH
ISSUE.

I NOW SUBMIT THAT THE COURT FAILED IN THIS MATTER TO GIVE
ME PRQPER NOTICE THAT MY LETTER_MOTION wAs BEING coNsTRUED As
A §2255 HABEAS CORPUS PETITION AND TO GIVE ME AND OPPORTUNITY
TO HAVE SUCH LETTER-MOTION RULED UPON AS SUCH (§2255), OR TO
REQUEST THAT THE COURT ALLOW ME TO EXPLAIN IN DETAIL THE
STATUTE THAT SUCH MOTION IS BEING FILED UNDER, OR TO WITHDRAW

AND FILE AN ALL INCLUSIVE §2255 PETITION WITH ALL ISSUE'S

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RAISED AND DISCUSSED INCLUDING ANY EQUITABLE TOLLING
PROVISIONS PURSUANT TO §2255(F)(4) WHICH ALLOWS ME TO FILE
BEYOND THE DATE OF FINALITY.`

I AM NOW ASKING THAT THIS COURT RESCIND THIS ORDER AND
ISSUE THE PROPER NOTICE TO ME THAT WILL ALLOW ME THE FAIR
OPPORTUNITY TO LITIGATE THIS MATTER UNDER THE LIBERAL
STANDARDS OF HAINES V. KERNER. BECAUSE THE ISSUES IN THlS
MATTER INVOLVE A BRADY VIOLATION AS TO EVIDENCE WITHHELD
DURING PLEA NEGOTIATIONS AND DISCOVERY THERE MAY BE ADMISSIBLE
EVIDENCE SUPPORTING THE FAILURE TO FILE WITHIN THE TIME
LIMITATIONS PROVIDED BY LAW. ALSO, THE ISSUE OF POLICE
MISCONDUCT IS NEWLY DISCOVERED AS REGARDS THE DATE THAT I
BECAME AWARE THAT SUCH OCCURRED AND/OR THAT THE GOVERNMENT

FAILED TO DISCLOSE SUCH POLICE MISCONDUCT TO ME UR MY COUNSEL.

A RESPONSE AT YOUR EARLIEST CONVENIENCE IS RESEECTFULLY
REQUESTED IN THIS URGENT MATTER.
RESPECTFULLY SUBMITTED,
CORTEZ FISHER - PRO SE
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